          CASE 0:16-cv-01054-DTS Doc. 480-1 Filed 08/26/19 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

FAIR ISAAC CORPORATION, a                   )   Case No. 16-cv-1054 (WMW/DTS)
Delaware corporation,                       )
                                            )
                     Plaintiff,             )
                                            )
v.                                          )
                                            )
FEDERAL INSURANCE COMPANY,                  )
an Indiana corporation, and ACE             )
AMERICAN INSURANCE                          )
COMPANY, a Pennsylvania                     )
corporation,                                )
                                            )
                     Defendants.            )


                       LOCAL RULE 7.1(f) CERTIFICATION

       I hereby certify that Plaintiff Fair Isaac Corporation’s Memorandum in Opposition

to Defendants’ Motion to Exclude Expert Report and Testimony of Randolph Bickley

Whitener, filed electronically on August 26, 2019, complies with the word limit imposed

by Local Rule 7.1(f), with a total word count of 7,357 words, including headings,

footnotes, and quotations.

       I further certify that the accompanying document was created in Microsoft® Office

Word 2016, and that this word processing program has been applied specifically to

include all text, including headings, footnotes, and quotations.
        CASE 0:16-cv-01054-DTS Doc. 480-1 Filed 08/26/19 Page 2 of 2




Dated: August 26, 2019                   MERCHANT & GOULD P.C.

                                         /s/ Allen Hinderaker
                                         Allen Hinderaker, MN Bar # 45787
                                         Heather Kliebenstein, MN Bar # 337419
                                         Michael A. Erbele, MN Bar # 393635
                                         Joseph W. Dubis, MN Bar # 398344
                                         MERCHANT & GOULD P.C.
                                         3200 IDS Center
                                         80 South Eighth Street
                                         Minneapolis, MN 55402-2215
                                         Tel: (612) 332-5300
                                         Fax: (612) 332-9081
                                         ahinderaker@merchantgould.com
                                         hkliebenstein@merchantgould.com
                                         merbele@merchantgould.com
                                         jdubis@merchantgould.com

                                         Attorneys for Plaintiff FICO




                                     2
